                                                             Case 3:17-cv-02162-EMC          Document 378-2 Filed 12/22/23 Page 1 of 10
                                                                                 Food and Water Watch, et al., v. U.S. Environmental Protection Agency, et al.
                                                                                                                Civ. No. 17‐cv‐02162‐EMC (N.D. Cal.)
                                                                                                               Final Exhibit Index, December 22, 2023


Exhibit No.      Status                                Description                                 Date            Purpose                    Sponsoring    Objections     Response      Court Use
                                                                                                                 for Offering                  Witness                   to Objections
                                                  PLAINTIFF'S EXHIBITS
              removed;
              subject to Pls'
   001        MIL #1          CV of Dr. Ole Fejerskov                                       2019          Foundation                      Ole Fejerskov
              removed;
              subject to Pls'
   002        MIL #1          Tables and Figures from Dr. Fejerskov's Expert Report         2019          Summary of opinion              Ole Fejerskov
                                                                                                          Further context for             Philippe
   003                      CV of Dr. Philippe Grandjean                                    2019          expert opinon                   Grandjean
   004        withdrawn     Tables and Figures from Dr. Grandjean's Expert Reports
                                                                                                          Further context for
   005                      CV of Dr. Howard Hu                                             2019          expert opinon                   Howard Hu
                                                                                                          Further context for
   006                      CV of Dr. Bruce Lanphear                                        2019          expert opinon                   Bruce Lanphear
                                                                                                          Further context for             Kathleen
   007                        CV of Dr. Kathleen Thiessen                                   2019          expert opinon                   Thiessen
   008        withdrawn Tables and Figures from Dr. Thiessen's Expert Reports
              removed;
              subject to Pls'                                                                             Further context for
   009        MIL #1          CV of Dr. Christine Wells                                     2019          expert opinon                   Christine Wells
              removed;
              subject to Pls'
   010        MIL #1          Tables and Figures from Dr. Wells Expert Reports              2019
                                                                                                          Background and context
                            NIEHS/EPA Children’s Environmental Health and Disease                         for NIH-funded birth
                            Prevention Research Centers: Protecting Children’s Health                     cohort studies & adverse
   011        ADMITTED      Where They Live, Learn, and Play (EPA/600/R-17/407).            2017          nature of IQ loss        N/A
                            Mundy, et al. “Building a Database of Developmental
                            Neurotoxicants: Evidence from Human and Animal Studies”                       Supports neurotoxicity
   012        ADMITTED      (Ex. 223).                                                      n/a           being a hazard of fluoride N/A

                            NRC. Fluoride in Drinking Water: A Scientific Review of EPA's                 Supports neurotoxicity
   013        ADMITTED      Standards                                                       2006          being a hazard of fluoride N/A
                                                                                                          Lack of benefits from
                                                                                                          fluoride ingestion and
                            Declaration of FDA’s Dental Officer Frederick Hyman (Nov 5,                   absence of neurological
   014        ADMITTED      2018) and accompanying letter from FDA.                         2018          safety data                N/A
                                                                                                          Absence of neurological
   015        ADMITTED      CDC’s Objections to Deposition Subpoena                       2018            safety data for fluoride   Hannan
                            Stipulation Regarding Manufacturers of Fluoridation Chemicals                 Absence of neurological
   016        ADMITTED      (ECF 101).                                                    2019            safety data for fluoride   N/A
                                                                                                          To establish EPA's
                                                                                                          neurotoxicity risk
                            EPA Guidelines for Neurotoxicity Risk Assessment                              assessment principles
   017        ADMITTED      (EPA/630/R-95/001F).                                            1998          and practices              N/A
                                                                                                          To establish EPA's
                                                                                                          neurotoxicity risk
                                                                                                          assessment principles
                                                                                                          and practices &
                                                                                                          susceptibility of
                            EPA – Toxicological Review of 2,2’,4,4’-Tetrabromodiphenyl                    fetus/infant to
   018        ADMITTED      Ether (BDE-47) (EPA/635/R-07/005F).                             2008          neurotoxicants             N/A
                                                          Case 3:17-cv-02162-EMC          Document 378-2 Filed 12/22/23 Page 2 of 10
                                                                              Food and Water Watch, et al., v. U.S. Environmental Protection Agency, et al.
                                                                                                              Civ. No. 17‐cv‐02162‐EMC (N.D. Cal.)
                                                                                                             Final Exhibit Index, December 22, 2023


Exhibit No.      Status                             Description                                  Date            Purpose                    Sponsoring   Objections     Response      Court Use
                                                                                                               for Offering                  Witness                  to Objections
                                                                                                        To establish EPA's
                                                                                                        neurotoxicity risk
                                                                                                        assessment principles
                                                                                                        and practices &
                                                                                                        susceptibility of
                          EPA – Toxicological Review of 2-Hexanone (EPA/635/R-                          fetus/infant to
   019        ADMITTED    09/008F).                                                       2009          neurotoxicants                  N/A
                                                                                                        To establish EPA's
                                                                                                        neurotoxicity risk
                                                                                                        assessment principles
                                                                                                        and practices &
                                                                                                        susceptibility of
                          EPA – Toxicological Review of Methanol (Noncancer)                            fetus/infant to
   020        ADMITTED    (EPA/635/R-11/001Fa).                                         2013            neurotoxicants                  N/A
                          EPA - Toxicological Review of Hexahydro-1,3,5-trinitro-1,3,5-
   021        withdrawn   triazine (RDX) (EPA/635/R-18/211Fa).
                          EPA - Toxicological Review of Trimethylbenzenes (EPA/635/R-
   022        withdrawn   16/161Fa).
                          EPA - Estimated Per Capita Water Ingestion and Body Weight                    Exposure assessment for
   023                    in the United States (EPA-822-R-00-008).                      2000            fluoride                N/A

                          EPA - Estimated Per Capita Water Ingestion and Body Weight
   024        withdrawn   in the United States—An Update (EPA-822-R-00-001).
                                                                                                        Exposure assessment for
   025        ADMITTED    EPA - Exposure Factors Handbook (Introduction)                  2011          fluoride                N/A
                          EPA - Exposure Factors Handbook (Updated Chapter 3:                           Exposure assessment for
   026        ADMITTED    Ingestion of Water and Other Select Liquids)                    2019          fluoride                N/A
                                                                                                        To establish EPA's
                          EPA - Recommended Use of Body Weight 3/4 as the Default                       method for establishing
                          Method in Derivation of the Oral Reference Dose (EPA 100-R11-                 human equivalent doses
   027                    0001).                                                        2011            from animal data        N/A
                          EPA – A Review of the Reference Dose and Reference
   028        withdrawn   Concentration Processes (EPA/630/P-02/002F)
                          EPA - Fluoride: Dose-Response Analysis for Non-cancer Effects
   029        withdrawn   (EPA-820-R-10-019).
                          EPA - Fluoride: Exposure and Relative Source Contribution
   030        withdrawn   Analysis (EPA-820-R-10-015)
                                                                                                        To establish EPA's risk
                                                                                                        assessment principles
                                                                                                        and practices in the
                          EPA - Reregistration Eligibility Decision for Sodium Fluoride                 context of sodium
   031        ADMITTED    (EPA 739-R-07-010).                                             2007          fluoride pesticides             N/A

                                                                                                        Generalizability of BMD
                          EPA – IRIS Chemical Assessment Summary: Methylmercury                         data derived from foreign
   032                    (MeHg); CASRN 22967-92-6                                      2001            populations to US         N/A
                          EPA – Regulatory Impact Analysis of the Final Clean Air
   033        ADMITTED    Mercury Rule, EPA-452/R-05-003                                2005            Adverse nature of IQ loss N/A
                          EPA – Regulatory Impact Analysis of the Proposed Revisions to
                          the National Ambient Air Quality Standards for Lead,
                          https://www3.epa.gov/ttn/ecas/docs/ria/naaqs-
   034        ADMITTED    lead_ria_final_2008-10.pdf                                    2008            Adverse nature of IQ loss N/A
                          EPA – Economic Analysis of Toxic Substances Control Act
                          Section 403: Lead-Based Paint Hazard Standards,
                          https://www.epa.gov/sites/production/files/documents/403_
   035        ADMITTED    ea_d21.pdf                                                    2000            Adverse nature of IQ loss N/A
                                                          Case 3:17-cv-02162-EMC          Document 378-2 Filed 12/22/23 Page 3 of 10
                                                                              Food and Water Watch, et al., v. U.S. Environmental Protection Agency, et al.
                                                                                                            Civ. No. 17‐cv‐02162‐EMC (N.D. Cal.)
                                                                                                           Final Exhibit Index, December 22, 2023


Exhibit No.      Status                            Description                                 Date            Purpose           Sponsoring         Objections     Response      Court Use
                                                                                                             for Offering          Witness                       to Objections
                                                                                                      To establish EPA risk
                          EPA Website – “About Risk Assessment,”                                      assessment principles
   036        ADMITTED    https://www.epa.gov/risk/about-risk-assessment#whatisrisk. 2019             and practices            N/A
                                                                                                      To establish EPA risk
                          EPA Website – “NRC Risk Assessment Paradigm,”                               assesment principles and
   037        ADMITTED    https://www.epa.gov/fera/nrc-risk-assessment-paradigm.    2017              practices                N/A
                          EPA Website – “Conducting a Human Health Risk Assessment,                   To establish EPA risk
                          https://www.epa.gov/risk/conducting-human-health-risk-                      assessment principles
   038        ADMITTED    assessment.                                               2017              and practices            N/A

                          EPA Website – “Exposure Assessment Tools by Lifestages and
                          Populations - Highly Exposed or Other Susceptible Population
                          Groups,” https://www.epa.gov/expobox/exposure-assessment-                   To establish EPA risk
                          tools-lifestages-and-populations-highly-exposed-or-other-                   assessment principles
   039        ADMITTED    susceptible.                                                 2017           and practices                   N/A
                          EPA Website - EPA-FDA Fish Advice: Technical Information,
                          https://www.epa.gov/fish-tech/epa-fda-fish-advice-technical-
   040        withdrawn   information

                          Federal Register, Volume 76, Number 12 (January 19, 2011),
                          Pages 3,422-3,449: Sulfuryl Fluoride; Proposed Order Granting               Exposure assessment &
   041        ADMITTED    Objections to Tolerances and Denying Request for a Stay       2011          risk assessment methods N/A
                          Federal Register, Volume 73, Number 219 (November 12,
                          2008), Pages 66,964–67,062. National Ambient Air Quality
   042        ADMITTED    Standards for Lead; Final Rule                                2008          Adverse nature of IQ loss N/A
                          Federal Register, Volume 84, Number 123 (June 26, 2019),
                          Pages 30,524-30,569) National Primary Drinking Water
                          Regulations: Perchlorate; Proposed rule, request for public
   043        ADMITTED    comment                                                       2019          Adverse nature of IQ loss N/A
                                                                                                      EPA's risk
                          Memorandum from Steve M. Knott to Wendy Cleland-Hamnett,                    characterization under
   044        ADMITTED    Director of OPPT (Ex. 237).                              2016               TSCA                      N/A
                                                                                                      EPA's risk
                          Power point of Dr. Tala Henry (Ex. 235), along with cover                   characterization under
   045        ADMITTED    pages (Ex. 236)                                              2016           TSCA                      N/A
                                                                                                      EPA's risk
                                                                                                      characterization/determi
                          EPA - Draft Risk Evaluation for 1,4-Dioxane (EPA-740-R1-                    nation practices under
   046                    8007).                                                       2019           TSCA                      N/A
                                                                                                      EPA's risk
                                                                                                      characterization/determi
                          EPA - Draft Risk Evaluation for 1-Bromopropane (740-R1-                     nation practices under
   047                    8013).                                                       2019           TSCA                      N/A
                                                                                                      EPA's risk
                                                                                                      characterization/determi
                          EPA - Draft Risk Evaluation for Methylene Chloride (EPA-740-                nation practices under
   048                    R1-8010).                                                    2019           TSCA                      N/A
                                                                                                      EPA's risk
                                                                                                      characterization/determi
                          EPA - Draft Risk Evaluation for N-Methylpyrrolidone                         nation practices under
   049                    (NMP) (EPA-R1-8009)                                           2019          TSCA                      N/A
                          EPA - Draft Risk Evalution for Trichloroethylene (EPA-740-R1-
   050        withdrawn   8008)
                          Letter from EPA Assistant Administrator, Robert Perciasepe,
   051        withdrawn   July 25, 1997 (Ex. 155).
   052        ADMITTED    Second Amended Declaration of Scott Edwards                   2019          Standing                        N/A
   053        ADMITTED    Declaration of Kristie Lavelle                                2018          Standing                        N/A
                                                         Case 3:17-cv-02162-EMC          Document 378-2 Filed 12/22/23 Page 4 of 10
                                                                             Food and Water Watch, et al., v. U.S. Environmental Protection Agency, et al.
                                                                                                            Civ. No. 17‐cv‐02162‐EMC (N.D. Cal.)
                                                                                                           Final Exhibit Index, December 22, 2023


Exhibit No.      Status                            Description                                 Date            Purpose                  Sponsoring     Objections            Response          Court Use
                                                                                                             for Offering                 Witness                          to Objections
   054        ADMITTED Declaration of Julie Simms                                       2018          Standing                        N/A
   055        ADMITTED Declaration of Brenda Staudenmaier                               2018          Standing                        N/A
   056        ADMITTED Declaration of Audrey Adams                                      2018          Standing                        N/A
   057        ADMITTED Declaration of Jessica Trader                                    2018          Standing                        N/A
   058        ADMITTED Declaration of Moms Against Fluoridation                         2018          Standing                        N/A
   059        withdrawn Grandjean Purchase Order
   060        withdrawn Thiessen Dep. Ex. 260: Dose Response Evaluation
   061        withdrawn Thayer Dep. Ex. 103
   062        STIPULATED Updated CV of Dr. Philippe Grandjean                                         Foundation                      Grandjean
   063        STIPULATED Updated CV of Dr. Howard Hu                                                  Foundation                      Hu
   064        STIPULATED Updated CV of Dr. Bruce Lanphear                                             Foundation                      Lanphear
   065        STIPULATED Updated CV of Dr. Kathleen Thiessen                                          Foundation                      Thiessen
   066        STIPULATED May 1, 2023 Declaration of Jessica Trader                                    Standing                        N/A
                                                                                                      Considered by expert;
                                                                                                      supports neurotoxicity
                                                                                                      being hazard of fluoride
   067        STIPULATED NTP's May 2022 Prepublication Monograph                                      exposure                        N/A
                                                                                                      Considered by expert;
                                                                                                      supports neurotoxicity
                                                                                                      being hazard of fluoride
   068        STIPULATED NTP's July 2022 Draft Meta-Analysis                                          exposure                        N/A
                                                                                                      Considered by expert;
                         NTP BSC Working Group Report on the Draft State of the                       supports neurotoxicity
                         Science Monograph and the Draft Meta-Analysis Manuscript on                  being hazard of fluoride
                         Fluoride, Final Report: Approved by the NTP BSC on May 16,                   exposure and a risk of
   069        STIPULATED 2023 (including appendices).                                                 water fluoridation              N/A
                                                                                                      Considered by expert;
                                                                                                      goes to the weight the
                         Key to Agency Comments on Draft State of the Science                         Court should give NTP's
   070        STIPULATED Monographp and Draft Meta-Analysis Manuscript                                May 2022 Monograph              N/A
                                                                                                      Goes to the weight the
                           January 2022 email with update from NTP on publication                     Court should give NTP's                         Relevance;
   071                     timeline                                                                   May 2022 monograph              N/A             Hearsay       FRE 803(8) & FRE 807
                                                                                                      Considered by expert;
                                                                                                      goes to the weight the                          Relevance;
                           April 28, 2022 Email from Mary Wolfe to Casey Hannan &                     Court should give NTP's                         Hearsay; FRE FRE 803(6) & FRE 803(8) &
   072                     Other CDC Employees                                                        May 2022 Monograph              Berridge        403          FRE 807
                                                                                                      Considered by expert;
                                                                                                      goes to the weight the                          Relevance;
                           May 11, 2022 Email from Richard Carrier (Health Canada) to                 Court should give NTP's                         Hearsay; FRE FRE 803(6) & FRE 803(8) &
   073                     Jennifer DeFrance (WHO) and other government officials                     May 2022 Monograph              Thiessen/Barone 403          FRE 807
                                                                                                      Considered by expert;
                                                                                                      goes to the weight the                          Relevance;
                           May 11, 2022 Email from Mary Wolfe to Casey Hannan & Other                 Court should give NTP's                         Hearsay; FRE FRE 803(6) & FRE 803(8) &
   074                     CDC Employees                                                              May 2022 Monograph              Berridge        403          FRE 807
                                                                                                      Considered by expert;
                                                                                                      goes to the weight the                          Relevance;
                           May 11, 2022 Email from Rick Woychik to Brian Berridge,                    Court should give NTP's                         Hearsay; FRE FRE 803(6) & FRE 803(8) &
   075                     Mary Wolfe & Christine Flowers                                             May 2022 Monograph              Berridge        403          FRE 807
                                                                                                      Considered by expert;
                                                                                                      goes to the weight the                         Relevance;
                           Mary 12, 2022 Email from Brian Berridge to Tara Schwetz &                  Court should give NTP's                        Hearsay; FRE FRE 803(6) & FRE 803(8) &
   076                     Rick Woychik                                                               May 2022 Monograph              Berridge       403          FRE 807
                                                                                                      Considered by expert;
                                                                                                      goes to the weight the                          Relevance;
                           May 12, 2022 Email from Karen Hacker to Mary Wolfe & Other                 Court should give NTP's                         Hearsay; FRE FRE 803(6) & FRE 803(8) &
   077                     NTP Employees                                                              May 2022 Monograph              Berridge        403          FRE 807
                                                           Case 3:17-cv-02162-EMC          Document 378-2 Filed 12/22/23 Page 5 of 10
                                                                               Food and Water Watch, et al., v. U.S. Environmental Protection Agency, et al.
                                                                                                        Civ. No. 17‐cv‐02162‐EMC (N.D. Cal.)
                                                                                                       Final Exhibit Index, December 22, 2023


Exhibit No.      Status                              Description                           Date            Purpose                    Sponsoring    Objections              Response              Court Use
                                                                                                         for Offering                  Witness                            to Objections
                                                                                                  Considered by expert;
                                                                                                  goes to the weight the                           Relevance;
                           May 27, 2022, 7:13 AM Email from Brian Berridge to Rena                Court should give NTP's                          Hearsay; FRE FRE 803(6) & FRE 803(8) &
   078                     D'Souza                                                                May 2022 Monograph              Berridge         403          FRE 807
                                                                                                  Considered by expert;
                                                                                                  goes to the weight the
                                                                                                  Court should give NTP's
                                                                                                  May 2022 Monograph;
                                                                                                  supports neurotoxicity                           Relevance;
                                                                                                  being hazard of fluoride                         Hearsay; FRE
   079                     January 26, 2022 Declaration of Linda Birnbaum                         exposure                        Berridge         403          FRE 807
                                                                                                  Considered by expert;
                                                                                                  goes to the weight the                          Relevance;
                                                                                                  Court should give NTP's         Berridge/Grandj Hearsay; FRE
   080                     April 28, 2023 Letter from Brian Berridge to BSC                       May 2022 Monograph              ean/Thiessen    403           FRE 807
                                                                                                                                                  FRE 106       FRE 803(8); FRE 807; Where
                                                                                                                                                  (completeness so indicated, Dr. Barone
                                                                                                  Supports neurotoxicity                          ); Hearsay;   admitted that he agreed with
                           Agree/Disagree with NTP Statements (Exhibit 16 to Oct 30,              being hazard of fluoride                        Relevance;    the NTP statements that are
   081                     2023 Deposition of Stan Barone)                                        exposure                        Barone          FRE 403       quoted.

                                                                                                                                                                  FRE 807; Dr. Barone admitted
                                                                                                  Exposure assessment for                                         that the figure correctly
                           Figure re Urinary Fluoride Levels in Pregnant Women Living in          fluoride; Supports                               Relevance;     represents data from a study
                           Fluoridated vs Non-Fluoridated Areas (Exhibit 20 to Oct 30,            unreasonable risk                                Hearsay; FRE   that he relied upon for his
   082                     2023 Deposition of Stan Barone)                                        determination           Barone                   403            opinions in this case.
                                                                                                                                                                  FRE 803(8); FRE 807; Dr.
                                                                                                  Exposure assessment for                                         Barone admitted that the
                                                                                                  fluoride; Supports                               Relevance;     figure correctly represents
                           Figure re Fluoride Intake from Water During Pregnancy                  unreasonable risk                                Hearsay; FRE   data from an official EPA
   083                     (Exhibit 23 to Oct 30, 2023 Deposition of Stan Barone)                 determination           Barone                   403            publication.
                                                                                                  Exposure assessment for                                         FRE 807; Dr. Savitz admitted
                                                                                                  fluoride; Supports                                              that the figure correctly
                           Figure re Fluoride Intake from Water During Pregnancy                  unreasonable risk                                Hearsay; FRE   represents the data from his
   084                     (Exhibit 16 to Deposition of David Savitz)                             determination           Savitz                   403            study
                                                                                                                                                                  FRE 807; Dr. Savitz admitted
                                                                                                                                                                  that the figure correctly
                                                                                                                                                   Relevance;     represents the data from the
                           Figure re Data from Ibarluzea's IQ Study (Exhibit 24 to                Supports unreasonable                            Hearsay; FRE   key study on which he bases
   085                     Deposition of David Savitz)                                            risk determination              Savitz           403            his opinions
                                                                                                                                                                  FRE 807; Dr. Ibarluzea
                                                                                                                                                   Relevance;     admitted that the figure
                           Figure re Data from Ibarluzea's IQ Study (Exhibit 17 to                Supports unreasonable                            Hearsay; FRE   correctly represents the data
   086                     Deposition of Jesus Ibarluzea)                                         risk determination              Ibarluzea        403            from his study
                                                                                                                                                                  FRE 803(6); FRE 807; This is
                                                                                                                                                                  an email exchange between an
                                                                                                                                                  Relevance;      NTP truth of the information
                                                                                                  Supports unreasonable           Grandjean/Ibarl Hearsay; FRE    contained in the email is
   087                     December 31, 2022 Email from Dr. Ibarluzea to Kyla Taylor              risk determination              uzea            403             undisputed.
                                                                                                  Exposure assessment for
                                                                                                  fluoride; Supports
                         Figures & Tables from Dr. Thiessen's Third Supplemental                  unreasonable risk
   088        STIPULATED Expert Report                                                            determination                   Thiessen
                                                                                                  To establish EPA's                               FRE 106       FRE 801(d)(2); EPA's
                                                                                                  neurotoxicity risk                               (completeness representative admitted the
                           True/False Questions re EPA's Risk Evaluations (Exhibit 6 to           assessment principles                            ); Relevance; accuracy of the statements
   089                     July 24, 2023 Deposition of EPA's 30(B)(6) Rep)                        and practices                   Barone           FRE 403       indicated in this document
                                                           Case 3:17-cv-02162-EMC          Document 378-2 Filed 12/22/23 Page 6 of 10
                                                                               Food and Water Watch, et al., v. U.S. Environmental Protection Agency, et al.
                                                                                                           Civ. No. 17‐cv‐02162‐EMC (N.D. Cal.)
                                                                                                          Final Exhibit Index, December 22, 2023


Exhibit No.      Status                              Description                              Date            Purpose                    Sponsoring    Objections             Response              Court Use
                                                                                                            for Offering                  Witness                           to Objections
                                                                                                                                                      Exhibit
                                                                                                                                                      description
                                                                                                                                                      inaccurate;
                                                                                                     To establish EPA's                               FRE 106       FRE 801(d)(2); EPA's
                           Unreasonable Risk Determination for 1,4-Dioxane Condition of              neurotoxicity risk                               (completeness representative admitted the
                           Use (Exhibit 9 to July 24, 2023 Deposition of EPA's 30(B)(6)              assessment principles                            ); Relevance; accuracy of the statements
   090                     Rep)                                                                      and practices                   Barone           FRE 403       indicated in this document
                                                                                                                                                      Exhibit
                                                                                                                                                      description
                                                                                                                                                      inaccurate;
                                                                                                     To establish EPA's                               FRE 106       FRE 801(d)(2); EPA's
                                                                                                     neurotoxicity risk                               (completeness representative admitted the
                           Unreasonable Risk Determination for HBCD Condition of Use                 assessment principles                            ); Relevance; accuracy of the statements
   091                     (Exhibit 12 to July 24, 2023 Deposition of EPA's 30(B)(6) Rep)            and practices                   Barone           FRE 403       indicated in this document
                                                                                                                                                      Exhibit
                                                                                                                                                      description
                                                                                                                                                      inaccurate;
                                                                                                     To establish EPA's                               FRE 106       FRE 801(d)(2); EPA's
                                                                                                     neurotoxicity risk                               (completeness representative admitted the
                           Unreasonable Risk Determination for PCE Condition of Use                  assessment principles                            ); Relevance; accuracy of the statements
   092                     (Exhibit 13 to July 24, 2023 Deposition of EPA's 30(B)(6) Rep)            and practices                   Barone           FRE 403       indicated in this document
                                                                                                     To establish EPA's                               FRE 106       FRE 801(d)(2); EPA's
                                                                                                     neurotoxicity risk                               (completeness representative admitted the
                           True/False Questions re: Intraspecies Variability (Exhibit 20 to          assessment principles                            ); Relevance; accuracy of the statements
   093                     July 24, 2023 Deposition of EPA's 30(B)(6) Rep)                           and practices                   Barone           FRE 403       indicated in this document
                                                                                                                                                      FRE 106
                                                                                                                                                      (completeness
                                                                                                     Supports neurotoxicity                           ); Hearsay;   FRE 807; Where so indicated
                           Statements Regarding Epidemiology (Exhibit 13 to Oct 30,                  being hazard of fluoride                         Relevance;    Dr. Barone admitted he agreed
   094                     2023 Deposition of Stan Barone)                                           exposure                        Barone           FRE 403       with these statements.
                                                                                                     Considered by expert;
                                                                                                     goes to the weight the
                         NASEM (2021) The Use of Systematic Review in EPA's Toxic                    Court should give NTP's
   095        STIPULATED Substances Control Act Risk Evaluations                                     May 2022 Monograph              N/A
                                                                                                     To establish EPA's
                                                                                                     neurotoxicity risk
                                                                                                     assessment principles
   096        STIPULATED EPA Final Risk Evaluation for PCE                                           and practices                   N/A
                                                                                                     To establish EPA's
                                                                                                     neurotoxicity risk
                                                                                                     assessment principles
   097        STIPULATED EPA Final Risk Evaluation for HBCD                                          and practices                   N/A
                                                                                                     To establish EPA's
                                                                                                     neurotoxicity risk
                                                                                                     assessment principles
   098        STIPULATED EPA Final Risk Evaluation for 1,4 Dioxane                                   and practices                   N/A
                                                                                                     To establish EPA's
                                                                                                     neurotoxicity risk
                                                                                                     assessment principles
   099        STIPULATED EPA Final Risk Evaluation for PV-29                                         and practices                   N/A
                                                                                                     To establish EPA's
                                                                                                     neurotoxicity risk
                                                                                                     assessment principles
   100        STIPULATED EPA Final Risk Evaluation for 1-BP                                          and practices                   N/A
                                                             Case 3:17-cv-02162-EMC          Document 378-2 Filed 12/22/23 Page 7 of 10
                                                                                 Food and Water Watch, et al., v. U.S. Environmental Protection Agency, et al.
                                                                                                                    Civ. No. 17‐cv‐02162‐EMC (N.D. Cal.)
                                                                                                                   Final Exhibit Index, December 22, 2023


Exhibit No.      Status                               Description                                  Date                Purpose                    Sponsoring   Objections     Response      Court Use
                                                                                                                     for Offering                  Witness                  to Objections
                                                                                                              To establish EPA's
                                                                                                              neurotoxicity risk
                                                                                                              assessment principles
   101        STIPULATED EPA Final Risk Evaluation for Carbon Tetrachloride                                   and practices                   N/A
                                                                                                              To establish EPA's
                                                                                                              neurotoxicity risk
                                                                                                              assessment principles
   102        STIPULATED EPA Final Risk Evaluation for Methylene Chloride                                     and practices                   N/A
                                                                                                              To establish EPA's
                                                                                                              neurotoxicity risk
                                                                                                              assessment principles
   103        STIPULATED EPA Final Risk Evaluation for NMP                                                    and practices                   N/A
                                                                                                              To establish EPA's
                                                                                                              neurotoxicity risk
                                                                                                              assessment principles
   104        STIPULATED EPA Final Risk Evaluation for TCE                                                    and practices                   N/A
                                                 DEFENDANT'S EXHIBITS
                removed;
              subject to Pls'
   501           MIL #1       Curriculum Vitae for Charlotte Lewis, MD, MPH.
                removed;
              subject to Pls' Tables and Figures from Community Water Fluoridation.
   502           MIL #1       Expert report of Charlotte Lewis.
                removed;
              subject to Pls' Tables and Figures from Charlotte Lewis Rebuttal to Plaintiffs'
   503           MIL #1       Reports
               ADMITTED
                 (4 JUNE
   504            2020)       Curriculum Vitae for Ellen Chang, Sc.D.                                         Foundation                      Ellen Chang
               ADMITTED
                 (4 JUNE
   505            2020)       Tables and Figures Rebuttal Report of Ellen Chang, Sc.D.                        Summary of opinion              Ellen Chang
                removed;
              subject to Pls'
   506           MIL #1       Curriculum Vitae for Gary Douglass Slade.
                removed;
              subject to Pls' Tables and Figures from Dental Health Benefits of Fluoride in
   507           MIL #1       Drinking Water. Expert report of Gary Slade.
                removed;
              subject to Pls' Tables and Figures from Gary Slade Responses to Expert
   508           MIL #1       Reports for the Plaintiffs
               ADMITTED
                 (4 JUNE
   509            2020)       Curriculum Vitae for Joyce Tsuji, Ph.D., DABT, Fellow ATS.                      Foundation                      Joyce Tsuji
               ADMITTED
                 (4 JUNE
   510            2020)       Tables and Figures from Expert Rebuttal Report of Joyce Tsuji Aug. 1, 2019      Summary of opinion              Joyce Tsuji
               ADMITTED
                 (4 JUNE
   511            2020)       Curriculum Vitae for Tala Henry, Ph.D.                                          Foundation                      Tala Henry
               ADMITTED
                 (4 JUNE      Tables and Figures from Initial Summary of the Facts and
   512            2020)       Opinions to Which Tala Henry is Expected to Testify             June 27, 2019   Summary of opinion              Tala Henry
               ADMITTED
                 (4 JUNE      Tables and Figures from Rebuttal Summary of the Facts and
   513            2020)       Opinions to Which Tala Henry is Expected to Testify             Aug. 1, 2019    Summary of opinion              Tala Henry
                                                         Case 3:17-cv-02162-EMC          Document 378-2 Filed 12/22/23 Page 8 of 10
                                                                             Food and Water Watch, et al., v. U.S. Environmental Protection Agency, et al.
                                                                                                             Civ. No. 17‐cv‐02162‐EMC (N.D. Cal.)
                                                                                                            Final Exhibit Index, December 22, 2023


Exhibit No.     Status                            Description                                Date               Purpose                    Sponsoring       Objections             Response               Court Use
                                                                                                              for Offering                  Witness                              to Objections
                       Environmental Protection Agency, 40 CFR Chapter I,
                       [EPA–HQ–OPPT–2016–0763; FRL–9959–74], Fluoride
              ADMITTED Chemicals in Drinking Water; TSCA Section 21 Petition;                          Considered by expert;
               (4 JUNE Reasons for Agency Response. Federal Register Vol. 82, No. 37,                  Goes to lack of                 Ellen Chang; Tala
   514          2020)  11878–11890.                                                   Feb. 27, 2017    neurotoxicity                   Henry
              ADMITTED                                                                                                                 Tala Henry; Ellen
               (4 JUNE Fluoride Action Network. Citizen Petition Under Section 21 of                                                   Chang; Joyce
   515          2020)  TSCA.                                                          Nov. 2016        Basis of complaint              Tsuji
                       DHHS. U.S. Department of Health and Human Services Federal
                       Panel on Community Water Fluoridation. U.S. Public Health                                                       Ellen Chang; Tala
              ADMITTED Service Recommendation for Fluoride Concentration in                                                            Henry; Gary
               (4 JUNE Drinking Water for the Prevention of Dental Caries. Public                                                      Slade; Charlotte
   516          2020)  Health Rep 2015;130(4):318-331.                                July 8, 2015     Considered by expert            Lewis
                       NTP. 2015a Handbook for Conducting a Literature-Based
              ADMITTED Health Assessment Using OHAT Approach for Systematic                            Considered by expert;
               (4 JUNE Review and Evidence Integration. U.S. Department of Health                      Goes to lack of
   518          2020)  and Human Services, National Toxiclogy Program.                Jan. 9, 2015     neurotoxicity                   Kristina Thayer
                       U.S. EPA (1992) Guidelines for Exposure Assessment. EPA 600-
              ADMITTED Z-92-001.                                                                       Considered by expert;
               (4 JUNE https://cfpub.epa.gov/ncea/risk/recordisplay.cfm?deid=1526                      Goes to lack of
   530          2020)  3.                                                             May 29, 1992     unreasonable risk               Tala Henry
                       U.S. EPA (1998a) Guidelines for Neurotoxicity Risk
              ADMITTED Assessment. EPA 630-R-95-001F. 1998.                                            Considered by expert;
               (4 JUNE https://www.epa.gov/sites/production/files/2014-                                Goes to lack of
   532          2020)  11/documents/neuro_tox.pdf.                                    May 14, 1998     unreasonable risk               Tala Henry

                          U.S. EPA (2000) Risk Characterization Handbook. EPA 100-B-
                          00-002 https://www.epa.gov/sites/production/files/2015-
              ADMITTED    10/documents/osp_risk_characterization_handbook_2000.pdf ,                   Considered by expert;
               (4 JUNE    including U.S. EPA (1995) Policy for Risk Characterization;                  Goes to lack of
   533          2020)     Science Policy Council Handbook.                              Dec. 2000      unreasonable risk               Tala Henry
                          U.S. EPA. (2014) Framework for Human Health Risk
              ADMITTED    Assessment to Inform Decision Making. EPA/100/R-14/001                       Considered by expert;
               (4 JUNE    https://www.epa.gov/sites/production/files/2014-                             Goes to lack of
   535          2020)     12/documents/hhraframework-final-2014.pdf.                    2014           unreasonable risk               Tala Henry
                          U.S. EPA (2017) Guidance to Assist Interested Persons in
                          Developing and Submitting Draft Risk Evaluations Under the
              ADMITTED    Toxic Substances Control Act. EPA-740-R17-001                                Considered by expert;
               (4 JUNE    https://www.epa.gov/sites/production/files/2017-                             Goes to lack of
   538          2020)     06/documents/tsca_ra_guidance_final.pdf.                      2017           unreasonable risk               Tala Henry
                          U.S. EPA (2018) Application of Systematic Review in TSCA Risk
                          Evaluations. EPA-740-P1-8001
              ADMITTED    https://www.epa.gov/assessing-and-managing-chemicals-                        Relied upon by expert;
               (4 JUNE    undertsca/application-systematic-review-tsca-risk-                           Goes to lack of
   539          2020)     evaluations.                                                  2018           unreasonable risk               Tala Henry
                          Senate Report 114–67. Available at
                          https://www.congress.gov/114/crpt/srpt67/CRPT-
   540        withdrawn   114srpt67.pdf.
                          House Report 114–176. Available at
                          https://www.congress.gov/114/crpt/hrpt176/CRPT-
   541        withdrawn   114hrpt176.pdf.
                          Congressional Record S3516. Available at                                                                                                       FRE 703; FRE 803; FRE
                          https://www.congress.gov/crec/2016/06/07/CREC-2016-06-                       Goes to legal requirments                           Relevance;    803(8); Goes to requirments of
   543                    07-pt1-PgS3511.pdf.                                           June 7, 2016   of TSCA                   Tala Henry                Hearsay       TSCA
              ADMITTED                                                                                 Considered by expert;
               (4 JUNE Procedures for Chemical Risk Evaluation Under the Amended                       Goes to lack of
   544          2020)  Toxic Substances Control Act (82 Fed. Reg. 33,726).             July 20, 2017   unreasonable risk         Tala Henry
                                                              Case 3:17-cv-02162-EMC          Document 378-2 Filed 12/22/23 Page 9 of 10
                                                                                  Food and Water Watch, et al., v. U.S. Environmental Protection Agency, et al.
                                                                                                                      Civ. No. 17‐cv‐02162‐EMC (N.D. Cal.)
                                                                                                                     Final Exhibit Index, December 22, 2023


Exhibit No.      Status                                Description                                     Date             Purpose                     Sponsoring    Objections                Response       Court Use
                                                                                                                      for Offering                   Witness                              to Objections
                              TSCA Work Plan for Chemical Assessments: 2014 Update,
                              available at https://www.epa.gov/assessing-and-managing-
                              chemicals-under-tsca/tsca-work-plan-chemical-assessments-
   545         withdrawn 2014-update.
                              Final Rule, Procedures for Prioritization of Chemicals for Risk
                              Evaluation Under the Toxic Substances Control Act (82 Fed.
   546         withdrawn Reg. 33,753).
                              Initiation of Prioritization Under the Toxic Substances Control
   547         withdrawn Act (TSCA) (84 Fed. Reg. 10,491).
                removed; U.S. Department of Health and Human Services. Water
              subject to Pls' Fluoridation Basics.
   548           MIL #1       https://www.cdc.gov/fluoridation/basics/index.htm.
   549         withdrawn CDC Objections to Deposition Subpoena
                removed;
              subject to Pls'
   550           MIL #1       Draft CDC Declaration
                              NTP. 2016. Systematic literature review on the effects of
               ADMITTED fluoride on learning and memory in animal studies. NTP                                 Considered by expert;
                 (4 JUNE      Research Report 1. NTP RR 1. National Toxicology Program,                        Goes to lack of
   553            2020)       Research Triangle Park, N.C.                                      2016           neurotoxicity                    Joyce Tsuji
                              U.S. Department of Health and Human Services. Statement on
                              the Evidence Supporting the Safety and Effectiveness of
   561         withdrawn Community Water Fluoridation.
                removed;
              subject to Pls' E-mails from Michael Connett to Christine Wells and
   639           MIL #1       attachments "Background on 'Iowa Fluoride Study'".
                removed;
              subject to Pls'
   640           MIL #1       Fluoride Action Network printout entitled, "OUR TEAM".
                              Email from Michael Connett to Howard Hu, regarding
                              "Question re: summarizing ELEMENTS study for Court" on                           Expert foundation and
   641                        March 25, 2019 (Hu Deposition Exhibit 344).                       March 25, 2019 scope of opinion                 Howard Hu        Hearsay        FRE 703
               ADMITTED
                 (4 JUNE
   643            2020)       Dr. Thayer's resume.                                              2019           Foundation of testimony Kristina Thayer
   650        STIPULATED CV for Dr. David Savitz.                                               July 2023      Foundation
   651        STIPULATED CV for Dr. Stanley Barone.                                                            Foundation
   652        STIPULATED CV for Dr. Jesús Ibarluzea                                             2023           Foundation
                                                                                                                                                                 Irrelevant
                                                                                                                                                                 (because the
                                                                                                                                                                 review is of
                                                                                                                                                                 NTP's 2019
                                                                                                               Considered by expert;                             draft, which
                             NASEM Review of the Draft NTP Monograph: Systematic                               Goes to lack of                                   will not be
                             Review of Fluoride Exposure and Neurodevelopmental and                            neurodevelopmental                                before the     FRE 703; Goes to lack of
   653                       cognitive Health Effects (2020).                                   2020           harm                             David Savitz     Court).        unreasonable risk
                                                                                                                                                                 Irrelevant
                                                                                                                                                                 (because the
                                                                                                                                                                 review is of
                                                                                                                                                                 NTP's 2020
                             NASEM Review of the Revised NTP Monograph on the                                  Considered by expert;                             draft, which
                             Systematic Review of Fluoride Exposure and                                        Goes to lack of                                   will not be
                             Neurodevelopmental and Cognitive Health Effects: A Letter                         neurodevelopmental                                before the     FRE 703; Goes to lack of
   654                       Report (2021).                                                     2021           harm                             David Savitz     Court).        unreasonable risk
                                                                                                               Considered by expert;
                         Chapter 8 of the EPA Exposure Factors Handbook (September                             Goes to exposure
   655        STIPULATED 2011).                                                    Sept. 2011                  assessment of fluoride           N/A
                                                        Case 3:17-cv-02162-EMC         Document 378-2 Filed 12/22/23 Page 10 of 10
                                                                            Food and Water Watch, et al., v. U.S. Environmental Protection Agency, et al.
                                                                                                          Civ. No. 17‐cv‐02162‐EMC (N.D. Cal.)
                                                                                                         Final Exhibit Index, December 22, 2023


Exhibit No.      Status                            Description                             Date             Purpose                     Sponsoring   Objections     Response      Court Use
                                                                                                          for Offering                   Witness                  to Objections
                         Table 1 from Dr. Savitz’s Expert Report: Summary of
                         Methodological Features from ELEMENT, MIREC, and INMA
   656        STIPULATED (Summary of Opinion).                                         08/04/2023   Summary of opinion              David Savitz

                         Table 2 from Dr. Savitz’s Expert Report: Summary of Results
   657        STIPULATED from ELEMENT, MIREC, and INMA (Summary of Opinion).           08/04/2023   Summary of opinion              David Savitz
